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                    UNITED STATES DISTRICT COURT      Uso1slrfct41oi,I'& J "
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA~~~o,J:,i r., Cleit
                               WESTERN DIVISION                   (      )                     °'Ne
                               NO.   :=j:JQ-C£-~OH-l M ~
UNITED STATES OF AMERICA                 I   J   )
             v.                                  )           INDICTMENT
                                                 )
ANDREW SALVARAN! GARCIA-S:MJTH                   )

      The Grand Jury charges that:


       On or about May 30, 2020, in the Eastern District of North Carolina, the

defendant, ANDREW SALVARANI GARCIA-SMITH, aiding and abetting others

both known and unknown to the Grand Jury, maliciously damaged and destroyed by

means of fire and an explosive, a building, the Market House, located at Market

Square, Fayetteville, North Carolina, in whole and in part owned and possessed by

the City of Fayetteville, an organization receiving Federal financial assistance, and

as a result of such conduct, the defendant caused directly and proximately personal

injury to any person and created a substantial risk of injury to any person, in violation

of Title 18, United States Code, Sections 844(±)(1), 844(±)(2), and 2.




                    (Remainder of page intentionally left blank.)




     Case 5:20-cr-00304-M Document 10 Filed 06/24/20 Page 1 of 3
                               FORFEITURE NOTICE

      The defendant is hereby given notice that all of the defendant's interest in all

property specified herein is subject to forfeiture.

      Upon conviction of the offense(s) set forth in the foregoing Indictment, the

defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

Section 82(a)(2)(B), any property constituting, or derived from, p1:oceeds obtained,

directly or indirectly, as a result of such violation(s), and pursuant to Title 18, Umted

States Code, Section 844(c) and Title 28, United States Code, Section 246l(c), any

explosive materials involved or used or intended to be used in the violation(s).

      If any of the above-described forfeitable property, as a result of any act or

omission of the defendant -

      (1)    cannot be located upon the exercise of due diligence;

      (2)    has been transferred or sold to, or deposited with, a third person;

      (3)    has been placed beyond the jurisdiction of the court;

      (4)    has been substantially diminished in value; or

      (5)    has been commingled with other property which cannot be subdivided

             without difficulty,




                    (Remainder of page intentionally left blank.)




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     Case 5:20-cr-00304-M Document 10 Filed 06/24/20 Page 2 of 3
it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the above forfeitable property.

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                                                            DATE

ROBERT J. HIGDON, JR.
United States Attorney



BY:J~
Assistant United States Attorney




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     Case 5:20-cr-00304-M Document 10 Filed 06/24/20 Page 3 of 3
